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 1                               UNITED STATES DISTRICT COURT
 2                           EASTERN DISTRICT OF CALIFORNIA
 3
     EDWARD LEWIS
 4                                                   Case No. 2:21-cv-02367-TLN-JDP
 5                  Plaintiff,
                                                     ORDER GRANTING JOINT
 6                                                   STIPULATION FOR ORDER TO
            v.
 7                                                   CONTINUE PLAINTIFFS’ MOTION
                                                     FOR ATTORNEY’S FEES, COSTS,
 8   FORD MOTOR COMPANY; and DOES
                                                     AND EXPENSES AND
     1 through 10, inclusive,                        JURISDICTION
 9
10                  Defendants.
11
12         On June 26, 2024, both Parties filed a Joint Stipulation to Continue Court’s
13   Jurisdiction Over Settlement filed by the parties.
14         The Court, having considered the Parties’ Joint Stipulation and finding good cause
15   therefore, hereby GRANTS the Joint Stipulation and ORDERS as follows:
16
17         1. The Joint Stipulation is Granted;
18         2. The Court continues the filing deadline of Plaintiff’s Motion for Attorneys’ Fees,
19               Costs, and Expenses from June 26, 2024 to August 26, 2024; and
20         3. The Court retains Jurisdiction over the action until Plaintiff’s fees, costs, and
21               expenses are determined and payment satisfied.
22
23         IT IS SO ORDERED.
24
25   Dated: June 27, 2024
26                                                HON. Troy L. Nunley
                                                  UNITED STATES DISTRICT JUDGE
27
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